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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 10-cv-1857-PAB-KMT

   JOELLE RIDDLE, GARY HAUSLER,
   KATHLEEN CURRY, THE COMMITTEE
   TO ELECT KATHLEEN CURRY and THE
   LIBERTARIAN PARTY OF COLORADO

                          Plaintiffs,

   v.


   JOHN HICKENLOOPER, in his official capacity
   as Governor of the State of Colorado and
   SCOTT GESSLER, in his official capacity as
   Secretary of State of the State of Colorado

                          Defendants.
   ________________________________________________________________________________________

                    FIRST AMENDED COMPLAINT FOR DECLARATORY
                              AND INJUNCTIVE RELIEF
   ________________________________________________________________________________________

          COME NOW Plaintiffs, by their attorney, William E. Zimsky, Abadie & Schill, P.C.,

   pursuant to 28 U.S.C. § 2201 and FED. R. CIV. P. 57 and 65, for their Second Amended

   Complaint against the Defendants, allege and aver as follows:

                                        I.   INTRODUCTION

          1.      The subject of this lawsuit is article XXVIII, section 3 of the Colorado

   Constitution and related statutes that impose limits on contributions to candidates running for

   elective office. Section 3 and related statutes restrict the total amount of money that a person is

   allowed to contribute to an unaffiliated candidate or to a candidate of a minor political party who

   does not face a primary election opponent to an amount that equals one-half of the total amount

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   of money a person may contribute to a major political party candidate regardless of whether the

   major political party candidate faces a primary election opponent. Section 3 and related statutes

   impermissibly impinge upon the Plaintiffs’ First Amendment rights by unnecessary restricting

   their freedoms of political expression and political association and that Colorado’s two-tier

   scheme for regulating campaign contributions invidious discriminate against them based on their

   political beliefs.

           2.      Plaintiff Kathleen Curry ran for re-election to the office of Representative for

   State House District 61in the 2010 general election as an unaffiliated candidate and authorized

   the formation of the Committee to Elect Kathleen Curry to receive contributions and making

   expenditures. Plaintiffs Joelle Riddle and Gary Hausler each contributed $200 to the Committee

   to Elect Kathleen Curry, the maximum amount allowed under article XXVIII, section 3 of the

   state constitution. There were two major party candidates that ran against Representative Curry.

   Under Colorado’s system regulating campaign contributions, person were permitted to contribute

   $400 to the candidate committees of either of her opponents. Riddle and Hausler both wanted to

   contribute another $200 each to the Committee to Elect Kathleen Curry, and Representative

   Curry wanted to accept such contributions for her candidate committee, but section 3 and related

   statues prohibited them from doing so. Plaintiffs faced civil monetary penalties if they violated

   section 3’s campaign contribution limits.

           3.      The only constitutionally sufficient basis to limit campaign contributions is to

   prevent corruption or the appearance of corruption. Colorado’s two-tiered system regulating

   campaign contributions is not closely drawn to avoid unnecessary abridgement of associational

   freedoms and political expression. The two-tiered system invidiously discriminates against


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   persons who want to contribute to the campaigns of unaffiliated candidates and candidates of

   minor political parties.


                                            II.    PARTIES

          4.      Plaintiff Joelle Riddle is a resident of La Plata County, Colorado. Ms. Riddle is

   the founder of Independent Voters for Colorado, an organization formed to promote the rights

   and interests of independent voters in the state of Colorado. Ms. Riddle is concerned that

   Colorado’s two-tiered system for limiting campaign contributions subordinates the interests of

   independent voters and unaffiliated candidates to the interests of the two major political parties.

          5.      Plaintiff Gary Hausler is a resident of Gunnison County, Colorado.

          6.      Plaintiff Kathleen Curry is a resident of Gunnison County, Colorado. She was the

   Representative for House District 61 and ran for re-election in the 2010 general election as an

   unaffiliated candidate.

          7.      The Committee to Elect Kathleen Curry was the “candidate committee”

   authorized by Kathleen Curry pursuant to Article XXVIII, Section 2(3) to receive contributions

   and make expenditures for her re-election campaign.

          8.      The Libertarian Party of Colorado is qualified as a Minor Political Party under the

   laws of the State of Colorado, § 1-4-1301, et seq.

          9.      Defendant John Hickenlooper is the Governor of the State of Colorado. Plaintiffs

   are suing Governor Ritter in his official capacity.

          10.     Defendant Scott Gessler is the Secretary of State of the State of Colorado.

   Secretary Gessler is the chief election officer for the state of Colorado and, pursuant to

   COLO.CONST. article XXVIII, section 9, is responsible for enforcing the campaign contribution

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   limits set forth in COLO.CONST. article XXVIII, section 3. Pursuant to § 1-45-111.5, C.R.S.,

   Secretary Gessler is also charged with promulgating rules as may be necessary to enforce and

   administer Title 1, Article 45 of the Colorado Revised Statutes, also known as the Fair Campaign

   Practices Act. Plaintiffs are suing Secretary Gessler in his official capacity.

                                III.    JURISDICTION AND VENUE

          11.     Plaintiffs’ causes of action arise under the First Amendment of the United States

   Constitution, as incorporated into the Fourteenth Amendment, that guarantees the freedoms of

   political expression and political association and under the Fourteenth Amendment to the

   Constitution that guarantees Plaintiffs the equal protection of the laws.

          12.     This lawsuit seeks to redress the deprivation under color of state law of rights

   secured by the United States Constitution. This lawsuit is authorized by 42 U.S.C. §§ 1983 and

   1988. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 and 1343.

          13.     All of the events that give rise to the causes of action stated herein occurred

   within the District of Colorado. Therefore, venue is proper in this Court pursuant to 28 U.S.C. §

   1381(a).

                                 IV.     GENERAL ALLEGATIONS

          A.      COLORADO’S CONSTITUTIONAL AND LEGISLATIVE SYSTEM FOR
                  LIMITING CONTRIBUTIONS TO CANDIDATE COMMITTEES

                  i.      The legal framework that applies to all persons contributing to
                          candidate committees

          14.     Section 3 of article XXVIII of the Colorado Constitution sets a limit on the total

   amount of money that any one “person” or any “small donor committee” may contribute to a




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   “candidate committee.” As set forth in section 3(13), these limits are subject to change based on

   the consumer price index for Denver-Boulder-Greeley.

          15.     Section 2(11) of article XXVIII defines “person” as “any natural person,

   partnership, committee association, corporation, labor organization, political party, or other

   organization or group of persons.”

          16.     Section 2(3) of article XXVIII defines “candidate committee” as “a person,

   including the candidate, or persons with the common purpose of receiving contributions or

   making expenditures under the authority of the candidate.”

          17.     Section 2(14) of article XXVIII defines “small donor committees” as “any

   political committee that has accepted contributions only from natural persons who each

   contributed no more than fifty dollars in the aggregate per year.”

          18.     Section 2(6)(a) of article XXVIII defines “election cycle” as “[t]he period of time

   beginning thirty-one days following a general election for the particular office and ending thirty

   days following the net general election for that office.” Subsections (b) and (c) provide similar

   definitions involving situations in which there are special legislative elections.

          19.     Section 3(1)(a)(I) allows a person to make up to $500 in aggregate contributions

   to any one governor candidate committee for the primary election and to make up to an

   additional $500 in aggregate contributions to any one governor and lieutenant governor

   candidate committee for the general election. Section 3(1)(a)(II) allows a person to make up to

   $500 in aggregate contributions to any one secretary of state, state treasurer or attorney general

   candidate committee for the primary election and to make up to an additional $500 in aggregate




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   contributions to any one secretary of state, state treasurer or attorney general candidate

   committee for the general election.

          20.     Section 3(1)(b) allows a person to make up to $200 in aggregate contributions to

   any one state senate, state house of representative, state board of education, regent of the

   university of Colorado, or district attorney candidate committee for the primary election and to

   make up to an additional $200 in aggregate contributions to any one secretary of state, state

   treasurer or attorney general candidate committee for the general election.

          21.     Section 3(2)(a)(I) allows a small donor committee to make up to $5,000 in

   aggregate contributions to any one governor candidate committee for the primary election and to

   make up to an additional $5,000 in aggregate contributions to any one governor and lieutenant

   governor candidate committee for the general election.

          22.     Section 3(2)(a)(II) allows a small donor committee to make up to $5,000 in

   aggregate contributions to any one secretary of state, state treasurer or attorney general candidate

   committee for the primary election and to make up to an additional $5,000 in aggregate

   contributions to any one secretary of state, state treasurer or attorney general candidate

   committee for the general election.

          23.     Section 3(2)(b) allows a small donor to make up to $2,000 in aggregate

   contributions to any one state senate, state house of representative, state board of education,

   regent of the university of Colorado, or district attorney candidate committee for the primary

   election and to make up to an additional $2,000 in aggregate contributions to any one state

   senate, state house of representative, state board of education, regent of the university of

   Colorado, or district attorney candidate committee for the general election.


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          24.     Pursuant to article XXVIII, section 2(13), the Secretary of State has adopted 8

   CCCR 1505-6, Rule 12.3 and 12.4. These rules increase the following aggregate limits on

   contributions: section 3(1)(a): from $500 to $525; section 3(2)(a): from $5,000 to $5,300; and

   section 3(2)(b): from $2,000 to $2,125.


                  ii.     The legal framework that applies to all persons contributing to
                          candidate committees of major political party candidates

          25.     There are currently two major political parties in Colorado: the Democratic Party

   of Colorado and the Colorado Republican Party.

          26.     Pursuant to § 1-4-101(3), C.R.S., all nominations by major political party

   candidates for all elective state officers and members of the general assembly must be made by

   primary election.

          27.     Pursuant to § 1-45-103.7(3)(a), C.R.S., a candidate committee may accept “[t]he

   aggregate contribution limit specified in [section 3(1)] for a primary election at any time after

   the date of the primary election in which the candidate in whose name the candidate committee is

   accepting contributions is on the primary ballot.” (Emphasis supplied.)

          28.     Pursuant to § 1-45-103.7(3)(b), C.R.S., a candidate committee may accept “[t]he

   aggregate contribution limit specified in [section 3(1)] for a general election at any time prior to

   the date of the primary election in which the candidate in whose name the candidate committee is

   accepting contributions is on the primary ballot.” (Emphasis supplied.)

          29.     Pursuant to § 1-45-103.7(4), C.R.S., a candidate committee may “expend

   contributions received and accepted for a general election prior to the date of the primary

   election in which the candidate in whose name the candidate committee is accepting


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   contributions is on the primary ballot.” (Emphasis supplied.) Subsection (4) also allows a

   candidate committee of a candidate who wins the primary election to “expend contributions

   received and accept for a primary election in the general election.”

          30.     Thus, because candidates of major political parties always have their name placed

   on the primary election ballot, section 3 of article XXVIII allows a person to donate up to $1,050

   to any one governor, secretary of state, state treasurer or attorney general candidate committee

   for a major political party candidate and up to $400 to any one state senate, state house of

   representatives, state board of education, regent of the university of Colorado, or district attorney

   candidate committee for a major political party candidate. Section 3 of article XXVIII allows a

   small donor committee to donate up to $10,600 to any one governor, secretary of state, state

   treasurer or attorney general candidate committee for a major political party candidate and up to

   $4,250 to any one state senate, state house of representatives, state board of education, regent of

   the university of Colorado, or district attorney candidate committee for a major political party

   candidate.

          31.     Moreover, a person may make a single, lump-sum contribution to a candidate

   committee for a major political party candidate before the primary election that matches the total

   aggregate amount that section 3 allows for both the primary and general election and the

   candidate committee is free to spend that money on the primary election, the general election or

   both. Furthermore, a person may make a single, lump-sum contribution to a candidate

   committee for a major political party candidate after the primary election that matches the total

   aggregate amount that section 3 allows for both the primary and general elections and the

   candidate committee is free to spend that money entirely on the general election.


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                  iii.    The legal framework that applies to all persons contributing to
                          candidate committees of unaffiliated candidates and candidate
                          committees of minor political party candidates

          32.     Unaffiliated candidates obtain access to the general election ballot by nominating

   petition as set forth in § 1-4-802, C.R.S. or by running as write-in candidates. Unaffiliated

   candidates do not participate in primary elections.

          33.     There are currently three minor political parties in Colorado: the Libertarian Party

   of Colorado, the American Constitution Party and the Green Party of Colorado.

          34.     If only one candidate from one of the minor political parties is designated for an

   office by petition or assembly, that candidate shall be the candidate of the minor party at the

   general election and that candidate’s name is not on the primary ballot. § 1-4-1304(1)(d), C.R.S.

   Since the time a federal court forced Colorado to give ballot access to minor party candidates by

   court order, the majority of both major and minor party candidates have not faced an opponent

   from the same party for the same office. While major party candidates must be nominated to the

   general election ballot by primary election, even if they do not face any opposition at the primary

   election, most minor party candidates are nominated directly to the general election ballot and

   their names are placed on the primary election ballot.

          35.     Because their names are not on the primary election ballot, section 3 of article

   XXVIII and related statutes, including § 1-45-103.7, as limiting the amount of money a person

   may contribute to a candidate committee of an unaffiliated candidate, or to a candidate

   committee of a minor party candidate who is nominated directly to the general election. This

   limitation on contributions equals one-half of the amount a person may make to a candidate

   committee for a major party candidate. For example, a person is allowed to make only $200 in


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   aggregate contributions to a candidate committee of an unaffiliated candidate running for the

   state house of representatives or to a candidate committee of a minor political party candidate

   who is nominated directly to the general election and whose name is not on the primary election

   ballot. Their major political party rivals, however, may receive up to $400 in aggregate from a

   person, either before or after the primary election, and spend the entire amount on the general

   election even if they are unopposed at a primary election.


          B.       FACTUAL ALLEGATIONS

          36.      Kathleen Curry was the incumbent State Representative in the Colorado General

   Assembly representing State House District 61, which at the time consisted of Gunnison,

   Hinsdale and Pitkin counties and parts of Eagle, Garfield counties.

          37.      The voters of State House District 61 first elected Curry, running as a Democrat,

   to a two-year term in the November 2, 2004 general election, casting 20,398 votes in her favor,

   representing 60.7% of the votes cast in that election. The voters of State House District 61 re-

   elected Curry, running as a Democrat, to a two-year term in the November 7, 2006 general

   election, casting all of the 20,733 votes that were cast for this office in her favor. The voters of

   State House District 61 re-elected Curry, running as a Democrat, to a third two-year term in the

   November 4, 2008 general election, casting all of the 28,012 votes that were cast for this office

   in her favor.

          38.      Curry disaffiliated from the Democratic Party and run for re-election in 2010 as

   an unaffiliated, write-in candidate.

          39.      In her re-election campaign, Curry was limited to $200 in aggregate contributions

   from any one person.

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           40.    Curry lost her bid for re-election bid in the 2010 general election. She received

   9,298 votes, Luke Korkowski, her Republican opponent received 8,987 votes and the winning

   candidate, Democrat Roger Wilson, received 9,657 votes. Thus, Curry lost the election by 359

   votes out of 29,825 votes cast.

           41.    The Committee to Elect Kathleen Curry is properly formed and registered with

   Defendant Bernie Gessler, the Colorado Secretary of State, as a “candidate committee” formed

   under pertinent Colorado law and regulations, which Kathleen Curry has authorized to receive

   contributions and make expenditures for her re-election campaign.

           42.    Plaintiff Joelle Riddle contributed $200 to the Committee to Elect Kathleen Curry

   for the 2010 general election. Ms. Riddle wanted to contribute another $200 to the Committee to

   Re-Elect Kathleen Curry for the 2010 general election, but could not do so pursuant section 3

   and related statutes.

           43.    Plaintiff Gary Hausler was an eligible elector in State House District 61 in the

   2010 election. Mr. Hausler voted for Representative Curry in the 2010 general election. Mr.

   Hausler contributed $200 to the Committee to Elect Kathleen Curry for the 2010 general

   election. Mr. Hausler wanted to contribute another $200 to the Committee to Elect Kathleen

   Curry for the 2010 general election, but he could not do so pursuant to section 3 and related

   statutes.

           44.    Plaintiff Kathleen Curry wanted the Committee to Elect Kathleen Curry to accept

   additional contributions from Ms. Riddle and Mr. Hausler, as well as other supporters who have

   expressed a similar desire to contribute more than the $200 limitation imposed by section 3, but

   she could not do so pursuant to section 3 and related statutes.


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           45.     Pursuant to COLO.CONST., article XXVIII, section 10(1), “[a]ny person who

   violates any provision of this article relating to contribution . . . limits shall be subject to a civil

   penalty of at least double and up to five times the amount contributed, received, or spent in

   violation of the applicable provision of this article. Candidates shall be personally liable for

   penalties imposed upon the candidate’s committee.”

           45.     Representative Curry faced two opponents in the upcoming 2010 general election

   for House District 61: Roger Ben Wilson, a Democrat; and Luke Korkowski, a Republican.

   While both of these candidates are on the primary election ballot and a person were allowed

   under section 3 to make $400 in aggregate contributions to their respective candidate

   committees, neither of these candidates is facing an opponent in the primary election.

           46.     According to the campaign finance reports that Korkowski filed with the

   Secretary of State’s office, he received contributions from 13 persons whose aggregate

   contributions exceeded $200, all of whom contributed $400 to his campaign, the maximum

   amount allowed under Colorado’s two-tiered system. (This does not include $400 Korkowski

   contributed to his own campaign.) Thus, Korkowski received an additional $2,600 than he could

   have raised had he run as an unaffiliated candidate or as a Libertarian. According to the

   Secretary of State’s records, Korkowski raised a total of $10,875. Thus, the $2,600 in additional

   funds that he raised based on his affiliation with a major political party represented 23.9% of all

   the funds that he raised in the 2010 general election cycle.

           47.     According to the campaign finance reports that Wilson filed with the Secretary of

   State’s office, he received contributions from 21 persons whose aggregate contributions

   exceeded $200, 16 whom contributed $400 to his campaign, the maximum amount allowed


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   under Colorado’s two-tiered system. In total, Wilson received an additional $3,625 than he

   could have raised had he run as an unaffiliated candidate or as a Libertarian. According to the

   Secretary of State’s records, Wilson raised a total of $26,599.63. Thus, the $3,625 in additional

   funds that he raised based on his affiliation with a major political party represented 13.6% of all

   the funds that he raised in the 2010 general election cycle.

          48.      According to the campaign finance reports that Curry filed with the Secretary of

   State’s office, she received contributions from 103 persons whose aggregate contributions

   equaled the $200 maximum amount that she was able to receive from individuals. According to

   the Secretary of State’s records, Curry raised $47,024.79 in the 2010 election cycle. Thus,

   43.8% of her contributions were from individuals who were willing to contribute at least $200 to

   her campaign.

          49. The fact that Messrs. Wilson and Korkowski are running unopposed in the primary

   election is not unusual. For example, in the upcoming August 8, 2010 primary election

   involving the 65 Colorado House Districts, only 8 of the 130 primaries involve contested

   elections and in two of those districts there is no major party candidate running against the two

   candidates who are in a primary election contest. Similarly, for the 34 Colorado Senate Districts,

   only 7 of the 38 primaries involve contested elections.

          50.      During the 2010 election cycle, there were a total of 9 Libertarian Party

   candidates who ran in for office during the 2010 general election who were subject to the state’s

   campaign contribution limitations. (Candidates for the federal offices of United States Senate

   and Representative to the 112th United States Congress enjoy a campaign finance system that

   allows for equal contributions to candidates no matter their political affiliation.) In 8 of these


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   elections, Libertarian Party candidates did not face a primary election opponent and were,

   therefore, only able to receive one-half the aggregate contributions from individuals as their

   major political party opponents. (In addition to the office of Governor in which there was a

   Libertarian primary election, Libertarians were nominated directly to the general election ballot

   in the following races: Regent of the University of Colorado - At-Large; State Senate Districts 7

   and 11; State House Districts 4, 12, 27, 57 and 60. In these 8 elections, 14 of the 16 major

   candidate opponents that the Libertarian Party candidates ran against did not face a primary

   election opponent. (There were contested primary elections for the Democratic nomination for

   House Districts 4 and 12.)


                                     FIRST CAUSE OF ACTION


       DECLARATORY RELIEF SEEKING A JUDGMENT AGAINST DEFENDANTS
       DECLARING THAT SECTION 3 OF ARTICLE XXVIII OF THE COLORADO
     CONSTITUTION IS FACIALLY UNCONSTITUTIONAL BECAUSE IT VIOLATES
    THE FIRST AMENDMENT RIGHTS OF PERSONS WHO CONTRIBUTE OR WANT
      TO CONTRIBUTE TO UNAFFILIATED AND/OR TO CANDIDATES ON MINOR
       POLITICAL PARTIES WHOSE NAMES ARE NOT PLACED ON A PRIMARY
                            ELECTION BALLOT

          51.     By this reference, Plaintiffs incorporate each and every allegation and averment

   set forth in paragraphs 1 through 59 as though fully set forth herein.

          52.     An actual controversy exists between Plaintiffs, on the one hand, and Defendants,

   on the other hand, with regard to the exercise of the First Amendment rights of persons who

   contribute or want to contribute to unaffiliated and minor party candidates. Plaintiffs assert

   Colorado’s campaign finance scheme violates the freedoms of political expression and

   association of persons who contribute or want to contribute to unaffiliated and minor party


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   candidates. Defendants contend that section 3 and related statutes do in fact provide for a two-

   tier regulatory system that that system does not violate the First Amendment rights of these

   persons. This controversy is real and immediate because persons who violate Colorado’s

   campaign finance framework are subject to civil monetary penalties.

          53.     The only constitutionally sufficient basis for establishing campaign contribution

   limits is to serve the state interests of preventing corruption or the appearance of corruption.

   Colorado has failed to closely draw its two-tiered system regulating campaign contributions to

   match the State’s interest in avoiding corruption or the appearance of corruption or any other

   possible legitimate interest that the State may have to justify its two-tiered system regulating

   campaign contributions. Instead, Colorado’s system unnecessarily abridges the freedoms of

   political expression and political association of persons who contribute to unaffiliated and minor

   political party candidates.

          54.     Plaintiffs are entitled to a declaratory judgment declaring that Colorado’s

   regulatory system governing campaign contributions is facially unconstitutional to the extent that

   these provisions prohibit persons and small donor committee from making contributions in an

   aggregate amount to a candidate committee of an unaffiliated candidate or a minor political party

   candidate whose name is not on the primary election ballot in an amount equal to what every

   person and small donor committee is allowed to make to a candidate committee of a major

   political party candidate who is running for the same elective office.

          55.     Pursuant to 42 U.S.C. § 1983, et seq., Plaintiffs are entitled to a declaratory

   judgment declaring their rights and to their reasonable attorneys’ fees and costs in this case.




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                                    SECOND CAUSE OF ACTION

          DECLARATORY RELIEF SEEKING A JUDGMENT AGAINST THE
      DEFENDANTS DECLARING THAT SECTION 3 OF ARTICLE XXVIII OF THE
      COLORADO CONSTITUTION IS UNCONSTITUTIONAL AS APPLIED TO THE
            PLAINTIFFS BECAUSE IT VIOLATES THEIR FREEDOMS OF
        POLITICAL EXPRESSION AND POLITICAL ASSOCIATION THAT THE
                      FIRST AMENDMENT GUARANTEES

           56.     By this reference, Plaintiffs incorporate each and every allegation and averment

   set forth in paragraphs 1 through 55 as though fully set forth herein. Plaintiffs plead this cause of

   action in the alternative.

           57.     An actual controversy exists between Plaintiffs, on the one hand, and Defendants,

   on the other hand, with regard to the federally protected rights of Plaintiffs Riddle and Hausler

   and other supporters of Representative Curry and the federally protected rights of persons who

   support candidates nominated to elective office by the Libertarian Party involving their exercise

   of their First Amendment guaranteed freedoms of political expression and political association

   through the contribution of their money to the Committee to Elect Kathleen Curry or to the

   candidate committees of Libertarian Party candidates as well as the First Amendment rights of

   Curry and Libertarian Party candidates to use those contributions to express their political views.

   This controversy is real and immediate because if any of the Plaintiffs violate Colorado’s

   regulatory framework they will be subject to civil monetary penalties.

           58.     The only constitutionally sufficient basis for establishing campaign contribution

   limits is to serve the state interests of preventing corruption or the appearance of corruption.

   Allowing a person to contribute $400 to the candidate committees of Representative Curry’s

   opponents while limiting the contributions of Plaintiffs Riddle and Hausler and others wishing to

   contribute to the Committee to Elect Kathleen Curry to $200 does not prevent corruption or the

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   appearance of corruption. Similarly, allowing a person to contribute $400 to the candidate

   committees to the major party opponents of Libertarian candidates while limiting the

   contributions of persons wishing to contribute to Libertarian Party candidates who are nominated

   directly to the general election ballot does not prevent corruption or the appearance of

   corruption. Colorado has failed to closely draw its two-tiered system regulating campaign

   contributions to match the State’s interest in avoiding corruption or the appearance of corruption

   or any other possible legitimate interest that the State may have to justify its two-tiered system

   regulating campaign contributions. Instead, Colorado’s system unnecessarily abridges the

   freedoms of political expression and association of persons who contribute or want to

   contribution to unaffiliated and minor political party candidates whose names do not appear on a

   primary election ballot.

          59.       Plaintiffs are entitled to a declaratory judgment declaring that the contribution

   limits set forth in COLO. CONST. article XXVIII, section 3(1) and (2), are unconstitutional as

   applied to Plaintiffs and any person or small donor committee who has contributed or wanted to

   contribute to the Committee to Elect Kathleen Curry or to the candidate committee of a

   Libertarian Party candidate who is nominated directly to the general election ballot and

   establishing the right Representative Curry and the Committee to Elect Kathleen Curry as well as

   the right of Libertarian Party candidates and their candidate committees to accept such

   contributions.

          60.       Pursuant to 42 U.S.C. § 1983, et seq., the Plaintiffs are entitled to a declaratory

   judgment declaring their rights and to their reasonable attorneys’ fees and costs in this case.




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                                    THIRD CAUSE OF ACTION

       DECLARATORY RELIEF SEEKING A JUDGMENT AGAINST THE
        DEFENDANTS DECLARING THAT SECTION 3 OF ARTICLE XXVIII OF
       THE COLORADO CONSTITUTION IS FACIALLY UNCONSTITUTIONAL
           BECAUSE IT VIOLATES THE RIGHT TO EQUAL PROTECTION
      OF THE LAWS AS GUARANTEED BY THE FOURTEENTH AMENDMENT OF
    PERSONS WHO CONTRIBUTE OR WANT TO CONTRIBUTE TO UNAFFILIATED
     CANDIDATES OR TO CANDIDATES ON MINOR POLITICAL PARTIES WHOSE
          NAMES ARE NOT PLACED ON A PRIMARY ELECTION BALLOT

          61.     By this reference Plaintiffs incorporate each and every allegation and averment

   set forth in paragraphs 1 through 60 as though fully set forth herein.

          62.     An actual controversy exists between Plaintiffs, on the one hand, and Defendants,

   on the other hand, with regard to Colorado’s two-tier system that allows a person or a small

   donor committee which supports major party candidates to contribute twice as much money than

   a person or small donor committee which supports an unaffiliated candidate or a candidate of a

   minor political party whose name is not placed on a primary election ballot. Plaintiffs assert that

   Colorado’s two-tiered regulatory scheme for limiting campaign contributions invidiously

   discriminates against persons and small donor committees who contribute or want to contribute

   to the candidate committee of an unaffiliated or minor party candidate whose name does not

   appear on a primary election ballot vis-à-vis persons who contribute to a candidate committee of

   a major party candidate or to a candidate committee of a minor political party whose name does

   appear on a primary election ballot. Defendants contend that Colorado’s two-tier regulatory

   system does not treat similarly situated persons differently in a constitutionally significant way.

   This controversy is real and immediate because persons who violate Colorado’s regulatory

   framework are subject to civil monetary penalties.



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          63.     The only constitutionally sufficient basis for establishing campaign contribution

   limits is to serve the state interests of preventing corruption or the appearance of corruption. The

   Equal Protection Clause requires that state constitutional provisions and statutes affecting First

   Amendment interests be narrowly tailored to their legitimate objectives. When government

   regulation discriminates among speech-related activities in a public forum, the Equal Protection

   Clause mandates that the legislation be finely tailored to serve substantial state interests. In this

   case, Colorado has not narrowly tailored its two-tiered system regulating campaign contributions

   to serve the State’s legitimate objectives of preventing corruption or the appearance of corruption

   or any other possible legitimate interest that the State may have to justify its two-tiered system

   regulating campaign contributions. Allowing one class of persons, consisting of those who

   support major party candidates and minor political party candidates whose names appear on a

   primary election ballot, to contribute twice as much money to their candidates as another class of

   persons, consisting of those who support unaffiliated and/or minor party candidates whose names

   are not placed on a primary election ballot, does not serve the state interest of preventing

   corruption or the appearance of corruption or any other legitimate state interest.

          64.     Plaintiffs are entitled to a declaratory judgment declaring that the contribution

   limits set forth in COLO. CONST. article XXVIII, section 3(1) and (2), are facially

   unconstitutional to the extent that these provisions prohibit persons and small donor committee

   from making contributions in an aggregate amount to a candidate committee of an unaffiliated

   candidate or a minor political party candidate whose name is not on the primary election ballot in

   an amount equal to what every person and small donor committee is allowed to make to a

   candidate committee of a major political party candidate who is running for elective office and


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   establishing the right candidate committees of unaffiliated candidates or minor political party

   candidates whose names are not on the primary election ballot to accept such contributions.

          65.     Pursuant to 42 U.S.C. § 1983, et seq., Plaintiffs are entitled to declaratory

   judgment declaring their rights and to their reasonable attorneys’ fees and costs in this case.


                                   FOURTH CAUSE OF ACTION

           DECLARATORY RELIEF SEEKING A JUDGMENT AGAINST THE
         DEFENDANTS DECLARING THAT SECTION 3 OF ARTICLE XXVIII OF
        THE COLORADO CONSTITUTION IS UNCONSTITUTIONAL AS APPLIED
         TO PLAINTIFFS BECAUSE IT VIOLATES THE PLAINTIFFS’ RIGHT TO
             EQUAL PROTECTION OF THE LAWS AS GUARANTEED BY
                        THE FOURTEENTH AMENDMENT

          66.     By this reference Plaintiffs incorporate each and every allegation and averment

   set forth in paragraphs 1 through 65 as though fully set forth herein.

          67.     An actual controversy exists between Plaintiffs, on the one hand, and Defendants,

   on the other hand, with regard to Colorado’s two-tier system that allowed a person who

   contributed to either of the candidate committees of Representative Curry’s two opponents to

   contribute twice as much money than either Riddle or Hausler or any other person were allowed

   to contribute to the Committee to Elect Kathleen Curry and that allows a person who contributes

   to the candidate committees of major party candidates to contribute twice as much money than

   supporters of Libertarian Party candidates who are nominated directly to the general election

   ballot are allowed to contribute to the candidate committees of such Libertarian Party candidates.

   Plaintiffs assert that Colorado’s two-tiered regulatory scheme for limiting campaign

   contributions invidiously discriminated against Plaintiffs Riddle and Hausler and other persons

   and small donor committees who contributed or wanted to contribute to the Committee to Elect


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   Kathleen Curry vis-à-vis persons and small donor committees who contributed to her opponents’

   candidate committees and that this scheme invidiously discriminates against supporters of

   Libertarian Party candidates who are nominated directly to the general election ballot who

   contribute or want to contribute to the Libertarian Party’s candidate committees vis-à-vis persons

   and small donor committees who contributed to the candidate committees of their major political

   party opponents. Defendants contend that Colorado’s two-tier regulatory system does not treat

   these individuals differently in a constitutionally significant way. This controversy is real and

   immediate because if Plaintiffs violate Colorado’s regulatory framework they will be subject to

   civil monetary penalties.

          68.     The only constitutionally sufficient basis for establishing contribution limits is to

   serve the state interests of preventing corruption or the appearance of corruption. The Equal

   Protection Clause requires that statutes affecting First Amendment interests be narrowly tailored

   to their legitimate objectives. When government regulation discriminates among speech-related

   activities in a public forum, the Equal Protection Clause mandates that the legislation be finely

   tailored to serve substantial state interests. In this case, Colorado has not narrowly tailored its

   two-tiered system regulating campaign contributions to serve the State’s legitimate objectives of

   preventing corruption or the appearance of corruption or any other possible legitimate interest

   that the State may have to justify its two-tiered system regulating campaign contributions.

   Allowing one class of persons, consisting of those who support major political party candidates

   to contribute twice as much money to their candidates as another class of persons, consisting of

   those who support unaffiliated candidates or Libertarian Party candidates who are nominated




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   directly to the general election ballot, does not serve the state interest of preventing corruption or

   the appearance of corruption or any other legitimate state interest.

             69.   Plaintiffs are entitled to a declaratory judgment establishing that the contribution

   limits set forth in COLO. CONST. article XXVIII, section 3, are unconstitutional as applied to

   Plaintiffs and all persons and small donor committees who have contributed or wanted to

   contribute to the Committee to Elect Kathleen Curry and as applied to all persons who want to

   contribute to a Libertarian Party candidate who is nominated directly to the general election

   ballot.

             70.   Pursuant to 42 U.S.C. § 1983, et seq., Plaintiffs are entitled to declaratory

   judgment declaring their rights and to their reasonable attorneys’ fees and costs in this case.


                                     SIXTH CAUSE OF ACTION

                         INJUNCTIVE RELIEF AGAINST DEFENDANTS

             71.   By this reference Plaintiffs incorporate each and every allegation and averment

   set forth in paragraphs 1 through 70 as though fully set forth herein.

             72.   Colorado’s two-tiered system regulating campaign contributions is facially

   unconstitutional as it violates the freedoms of political expression and political association

   guaranteed by the First Amendment of persons and small donor committees who contribute or

   want to contribute to unaffiliated candidates and/or to the candidate committees of minor

   political party candidates whose names are not placed on the primary election ballot and also

   invidiously discriminates against them in violation of their right to equal protection of the laws

   that the Fourteenth Amendment guarantees.



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          73.     Colorado’s two-tiered system of campaign contribution limits is unconstitutional

   as applied to the Libertarian Party and supporters of its candidates as it violates their freedoms of

   political expression and political association that the First Amendment guarantees, as well as the

   rights of others persons and small donor committees who contribute or want to contribute to

   Libertarian Party candidates who are nominated directly to the general election ballot and also

   invidiously discriminates against them in violation of their right to equal protection of the laws

   that the Fourteenth Amendment guarantees.

          74.     There exists an imminent and ongoing threat by Defendants to deprive the civil

   rights of persons and small donor committees who have contributed or want to contribute in this

   2012 election cycle to unaffiliated candidates and candidates of the Libertarian Party and other

   minor political parties who are nominated directly to the general election ballot by limiting their

   contributions to the candidate committees of such candidates.

          75.     The supporters of other unaffiliated candidates and candidates of minor political

   parties whose names are not on the primary election ballot will suffer irreparable injury if they

   are not allowed to contribute as much money to those candidates as persons who support

   candidates of the two major political parties who are running against such candidates in the

   upcoming general election. Unaffiliated candidates and candidates of minor political parties

   whose names are not on the primary election ballot will suffer irreparable injury if they are not

   allowed to accept contributions from persons and small donor committees that is the same as

   their opponents are allowed to accept from their supporters.

          76.     The Plaintiffs are entitled to a permanent injunction restraining and enjoining

   Defendants, and all those working in concert with them, from enforcing article XXVIII, section


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   3(1) and (2) of the Colorado Constitution and related statutes against: (1) any person or small

   donor committee to the extent that any person or small donor committee makes a contribution to

   a candidate committee of an unaffiliated candidate or a candidate committee of a minor political

   party candidate whose name is not placed on the primary election ballot in an amount that

   section 3 and related statues allow a person or small donor committee to contribute to a candidate

   committee of major political party candidate who is running for the same elective office in a

   given election cycle; and (2) any candidate or candidate committee of an unaffiliated candidate

   or minor political party candidate whose name is not on the primary election ballot to the extent

   such candidate or candidate committee accepts contributions from persons or small donor

   committees in an amount that section 3 and related statues allow a candidate committee of a

   major political party candidate running for the same elective office to accept in a given election

   cycle.

            WHEREFORE, premises submitted, Plaintiffs pray for judgment in their favor and

   against Defendants Governor Ritter and Secretary Gessler as follows:

                  A.      A declaratory judgment in favor of Plaintiffs and against
                          Defendants Hickenlooper and Gessler declaring that the
                          contribution limits set forth in COLO. CONST. article XXVIII,
                          section 3(1) and (2), are facially unconstitutional to the extent that
                          these provisions prohibit a person or a small donor committee from
                          making contributions in an aggregate amount to a candidate
                          committee of an unaffiliated candidate or a minor political party
                          candidate whose name is not on the primary election ballot in an
                          amount equal to what section 3(1) and (2) allows a person or small
                          donor committee to contribute to a candidate committee of a major
                          political party candidate who is running for the same elective
                          office in a given election cycle and establishing the right of a
                          candidate committee of an unaffiliated candidates or minor
                          political party candidate whose names are not on the primary
                          election ballot to accept such contributions;


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              B.    A declaratory judgment in favor of all Plaintiffs and against
                    Defendants Hickenlooper and Gessler declaring that the
                    contribution limits set forth in COLO. CONST. article XXVIII,
                    section 3(1) and (2), are unconstitutional as applied to Plaintiffs
                    and any person or small donor committee who has contributed or
                    wanted to contribute to the Committee to Elect Kathleen Curry and
                    establishing the right of Representative Curry and the Committee
                    to Elect Kathleen Curry to accept such contributions and that
                    COLO. CONST. article XXVIII, section 3(1) and (2), are
                    unconstitutional as applied to any person or small donor committee
                    who has contributed or wants to contribute to a candidate
                    committee of a Libertarian Party candidate who is nominated
                    directly to the general election ballot and establishing the right of
                    the candidate committees of such Libertarian Party candidates to
                    accept such contributions;

              C.    A permanently injunction enjoining and restraining Defendants
                    Ritter and Gessler, and all those acting in concert with them, from
                    enforcing the contribution limits set forth in COLO.CONST. article
                    XXVIII, section 3(1) and (2) against: (1) any person or small donor
                    committee to the extent that any person or small donor committee
                    makes a contribution to a candidate committee of an unaffiliated
                    candidate or a candidate committee of a minor political party
                    candidate whose name is not placed on the primary election ballot
                    in an amount that section 3 and related statutes allows a person or
                    small donor committee to contribute to a candidate committee of
                    major political party candidate who is running for the same
                    elective office in a given election cycle; and (2) any candidate or
                    candidate committee of an unaffiliated candidate or minor political
                    party candidate whose name is not on the primary election ballot to
                    the extent such candidate or candidate committee accepts
                    contributions from persons or small donor committees in an
                    amount that section 3 and related statutes allow a candidate
                    committee of a major political party candidate to accept who is
                    running for the same elective office;

              D.    For costs of suit herein, including Plaintiffs’ reasonable attorney’s
                    fees pursuant to 42 U.S.C. § 1988 against Defendants
                    Hickenlooper and Gessler; and,

              E.    For such other and further relief as the Court may deem just and
                    reasonable under the circumstances.



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   Respectfully submitted, the 12th day of January, 2012.


                                                  /s/ William E. Zimsky
                                           By: ____________________________
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                                                Attorney for Plaintiffs Joelle Riddle, Gary Hausler,
                                                Kathleen Curry, the Committee to Elect Kathleen
                                                Curry and The Libertarian Party of Colorado


                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 12th day of January, 2010, a true and correct copy of the
   foregoing SECOND AMENDED COMPLAINT FOR DECLARATORY AND
   INJUNCTIVE RELIEF was FILED and SERVED via CM/ECF to the following persons:

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                                                                /s/ William E. Zimsky
                                                                ___________________
                                                                William E. Zimsky




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